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                                       UNITED STATES DISTRICT COURT
                    15        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
B O I E S




                    16 BROIDY CAPITAL MANAGEMENT               Case No. 18-cv-02421-JFW
                    17 LLC and ELLIOTT BROIDY,                 DECLARATION OF LEE S.
                    18           Plaintiffs,                   WOLOSKY IN SUPPORT OF
                                                               OPPOSITION TO DEFENDANT
                    19        v.                               STATE OF QATAR’S MOTION TO
                                                               DISMISS
                    20 STATE OF QATAR, STONINGTON
                       STRATEGIES LLC, NICOLAS D.              [Memorandum of Points and
                    21 MUZIN, GLOBAL RISK ADVISORS
                       LLC, KEVIN CHALKER, DAVID
                                                               Authorities, Opposition to Request
                                                               for Judicial Notice, Declaration of
                    22 MARK  POWELL, MOHAMMED BIN
                       HAMAD BIN KHALIFA AL THANI,
                                                               Joshua N. Friedman, and Proposed
                                                               Order filed concurrently herewith]
                    23 AHMED
                       10,
                              AL-RUMAIHI, and DOES 1-
                                                               The Honorable John F. Walter
                    24           Defendants.                   Hearing Date: July 30, 2018
                    25                                         Time: 1:30 p.m.
                                                               Courtroom: 7A
                    26
                    27
                    28
                                                                                  Case No. 18-cv-02421-JFW
                                                                         DECLARATION OF LEE S. WOLOSKY
                  Case 2:18-cv-02421-JFW-E Document 134 Filed 07/09/18 Page 2 of 2 Page ID #:2535




                     1                    DECLARATION OF LEE S. WOLOSKY
                     2         I, Lee S. Wolosky, hereby declare as follows:
                     3         1.    I am a Partner in the law firm of Boies Schiller Flexner LLP. I
                     4 represent Plaintiffs in this action.
                     5         2.    The State of Qatar was properly served in this action in
                     6 accordance with 28 U.S.C. § 1608.
                     7         3.    Attached as Exhibit 1 are portions of a log of WhatsApp chat
L L P




                     8 messages produced by non-party Joseph Allaham, which Plaintiffs file under
F L E X N E R




                     9 seal pursuant to this court’s July 9, 2018 Order. (ECF No. 130.)
                   10          4.    Attached as Exhibit 2 is an email and attachment produced by
                   11 non-party Joseph Allaham, which Plaintiffs file under seal pursuant to this
S C H I L L E R




                   12 court’s July 9, 2018 Order. (ECF No. 130.)
                   13          5.    Attached as Exhibit 3 are portions of the transcript of the June 19,
                   14 2018 deposition of non-party Joseph Allaham, which Plaintiffs file under seal
                   15 pursuant to this court’s July 9, 2018 Order. (ECF No. 130.)
B O I E S




                   16
                   17          I declare under penalty of perjury under the laws of the United States
                   18 that the foregoing is true and correct.
                   19
                         Dated: July 9, 2018                  By:   /s/ Lee S. Wolosky
                   20
                                                                    Lee S. Wolosky
                   21                                               Counsel for Plaintiffs
                   22
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                                                                -1-                 Case No. 18-cv-02421-JFW
                                                                           DECLARATION OF LEE S. WOLOSKY
